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David M. eS i
Full Name/Prisoner Name
IDOC No. V2 au
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Pd, Bay ToEoId
baie. Aah C270)
Complete Mailing Address

En Yee Undead States Dstt
Cour’ For Mae District of Tiaho

David Fe issr . )
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Plaintiff/Petitioner, )
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vs ) AFFIDAVIT OF
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CERTIFICATION UNDER PENALTY OF PERJURY

I certify under penalty of perjury pursuant to the law of the State of Idaho that the foregoing is
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Date:_ \\ li ZO LY

Dawid Fersrse a. wD tid
Typed/Printed Signature
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CERTIFICATE OF MAILING

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